       DISTRICT COURT OF APPEAL OF THE STATE OF FLORIDA
                              FOURTH DISTRICT

                          LACY CREW, JR.,
                             Appellant,

                                    v.

                        STATE OF FLORIDA,
                             Appellee.

              Nos. 4D2024-0996, 2024-1389 and 2024-1794

                          [August 22, 2024]

   Consolidated appeals of order denying rule 3.853 motion from the
Circuit Court for the Seventeenth Judicial Circuit, Broward County;
Thomas J. Coleman, Judge; L.T. Case No. 06-008250CF10A.

  Lacy Crew, Jr., Punta Gorda, pro se.

  No appearance required for appellee.

PER CURIAM.

  Affirmed.

WARNER, DAMOORGIAN and KUNTZ, JJ., concur.

                          *          *          *

    Not final until disposition of timely filed motion for rehearing.
